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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

VIFOR FRESENIUS MEDICAL CARE    )
RENAL PHARMA LTD. and VIFOR     )
FRESENIUS MEDICAL CARE RENAL    )
PHARMA FRANCE S.A.S.,           )
                                )             C.A. No. 20-911-MN
         Plaintiffs,            )
                                )             FILED UNDER SEAL
     v.                         )
                                )
TEVA PHARMACEUTICALS USA, INC. )
                                )
                                )
                     Defendant.
                                )

   DECLARATION OF GEOFFREY A. KIRSNER IN SUPPORT OF PLAINTIFFS’
           OPPOSITION TO DEFENDANT’S MOTION TO STAY

Dated: December 2, 2021                FARNAN LLP
                                       Brian E. Farnan (Bar No. 4089)
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       I, Geoffrey A. Kirsner, declare as follows:

       1.      I am an attorney at Quinn Emanuel Urquhart & Sullivan LLP and counsel of record

for Plaintiffs Vifor Fresenius Medical Care Renal Pharma Ltd. and Vifor Fresenius Medical Care

Renal Pharma France S.A.S. in the above-captioned matter. I have knowledge of the following,

and if called as a witness, could and would testify competently to the contents herein.

       2.      A true and correct copy of the transcript from the June 17, 2020 teleconference with

the Court in C.A. No. 18-390-MN is attached as Exhibit 1 hereto.

       3.      A true and correct copy of email correspondence from Lauren Martin (counsel of

record for Plaintiffs) to all counsel of record in this litigation dated October 29, 2021 at 5:26 PM

is attached as Exhibit 2 hereto.

       4.      A true and correct copy of Teva Pharmaceuticals USA, Inc’s Objections and

Responses to Plaintiffs’ First Set of Interrogatories to Defendant Teva Pharmaceuticals USA, Inc.

(Nos. 1-4) in this litigation dated May 21, 2021 is attached as Exhibit 3 hereto.

       5.      A true and correct copy of Teva Pharmaceuticals USA, Inc.’s First Supplemental

Response to Plaintiffs’ First Set of Interrogatories (Nos. 1-4) in this litigation dated July 16, 2021

is attached as Exhibit 4 hereto.

       6.      A true and correct copy of Teva Pharmaceuticals USA, Inc.’s Third Supplemental

Response to Plaintiffs’ First Set of Interrogatories (Nos. 1-4) in this litigation dated October 22,

2021 is attached as Exhibit 5 hereto.

       7.      A true and correct copy of Teva Pharmaceuticals USA, Inc.’s Fifth Supplemental

Response to Plaintiffs’ First Set of Interrogatories (Nos. 1-4) in this litigation dated November 17,

2021 is attached as Exhibit 6 hereto.




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          8.     A true and correct copy of U.S. Patent No. 10,682,376 is attached as Exhibit 7

hereto.

          9.     A true and correct copy of U.S. Patent No. 10,695,367 is attached as Exhibit 8

hereto.

          10.    A true and correct copy of U.S. Patent No. 11,013,761 is attached as Exhibit 9

hereto.

          11.    A true and correct copy of internal meeting minutes dated November 26, 2007 and

produced by Plaintiffs in this litigation at bates nos. VIFOR02181327-330 is attached as Exhibit

10 hereto.

          12.    A true and correct copy of excerpts of the transcript of the November 12, 2021

deposition of Chandrashekhar Sinha in this litigation is attached as Exhibit 11 hereto.

          13.    A true and correct copy of Defendant Teva Pharmaceuticals USA, Inc.’s Objections

and Responses to Plaintiffs’ First Set of Requests for Admission to Teva (Nos. 1-24) in C.A. No.

18-390-MN dated September 27, 2019 is attached as Exhibit 12 hereto.




          I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct and that this declaration was completed in New York, New York this 2nd day of

December, 2021.

                                                               /s/ Geoffrey A. Kirsner




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